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    1 SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
      Rena Andoh (admitted pro hac vice)
    2 randoh@sheppardmullin.com.com
      30 Rockefeller Plaza
    3 New York, NY 10112
      Telephone: (212) 653-8700
    4 Facsimile: (212) 653-8701
    5 Lai L. Yip (SBN 258029)
       lyip@sheppardmullin.com
    6 Four Embarcadero Center, 17th Floor
      San Francisco, CA 94111
    7 Telephone: (415) 434-9100
      Facsimile: (415) 434-3947
    8
      Travis J. Anderson (SBN 265540)
    9 tanderson@sheppardmullin.com
      12275 El Camino Real, Suite 100
   10 San Diego, CA 92130
      Telephone: (858) 720-8900
   11 Facsimile: (858) 509-3691
   12 Kazim A. Naqvi (SBN 300438)
       knaqvi@sheppardmullin.com
   13 1901 Avenue of the Stars, Suite 1600
      Los Angeles, CA 90067
   14 Telephone: (310) 228-3700
      Facsimile: (310) 228-3701
   15
      Attorney for Plaintiff and Counter-Defendant
   16 Moog Inc.
   17
   18                              UNITED STATES DISTRICT COURT
   19                            CENTRAL DISTRICT OF CALIFORNIA
   20 MOOG INC,,                                           Case No. 2:22-cv-09094-GW-MAR
   21                     Plaintiff,
                                                           PLAINTIFF AND COUNTER-
   22            v.                                        DEFENDANT MOOG INC.’S
                                                           APPLICATION FOR LEAVE TO
   23 SKYRYSE, INC. ROBERT ALIN                            FILE UNDER SEAL DESIGNATED
      PILKINGTON, MISOOK KIM, and                          MATERIALS FROM AMENDED
   24 DOES NOS. 1-50,                                      TRADE SECRET IDENTIFICATION
   25                     Defendants.                      Judge: Hon. George H. Wu
                                                           Magistrate Judge: Hon. Margo A.
   26                                                      Rocconi
   27
   28
                                                         -1-                Case No. 2:22-cv-09094-GW-MAR
        SMRH:4890-9644-7100            MOOG INC.'S APPLICATION TO SEAL DESIGNATED MATERIALS FROM ITS
                                                                AMENDED TRADE SECRET IDENTIFICATION
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    1
         SKYRYSE, INC.,
    2
                              Counterclaimant,
    3             vs.
    4    MOOG INC.,
    5                         Counter-Defendant.
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                                                        -2-                Case No. 2:22-cv-09094-GW-MAR
        SMRH:4890-9644-7100           MOOG INC.'S APPLICATION TO SEAL DESIGNATED MATERIALS FROM ITS
                                                               AMENDED TRADE SECRET IDENTIFICATION
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    1           TO THE ABOVE CAPTIONED COURT, AND TO ALL PARTIES
    2 AND THEIR ATTORNEYS OF RECORD:
    3           Pursuant to Local Rule 79-5 et seq., Plaintiff and Counter-Defendant Moog
    4 Inc. (“Moog”) hereby submits this application for an order permitting it to file under
    5 seal certain excerpts and documents (the “Designated Materials”) from Moog’s
    6 Amended Trade Secret Identification (“Amended TSID”), filed pursuant to
    7 Magistrate Judge Margo A. Rocconi’s June 14, 2023 Order (Dkt. 534), and the
    8 Parties’ Joint Stipulation filed on July 7, 2023 (Dkt. 573).
    9           Moog submits that compelling reasons exist to permit the Designated
   10 Materials to be filed under seal. The Designated Materials include documents and
   11 information that have been identified as Protected Material pursuant to the
   12 Protective Order entered in this action on May 6, 2022 (the “Protective Order”)
   13 (Dkt. 89), which are referenced and/or set forth in the Amended TSID. Here, the
   14 Designated Material at issue constitutes Moog’s comprehensive Amended TSID and
   15 attachments thereto, which are all designated as “HIGHLY CONFIDENTIAL—
   16 OUTSIDE COUNSEL AND EXPERTS’ EYES ONLY” under the Protective Order
   17 (Dkt. 89). Moog’s Amended TSID contains a detailed explanation and identification
   18 of Moog’s various trade secrets at issue in this case, and Moog keeps this
   19 information secret. The names of Moog’s sensitive government programs are also
   20 kept secret from the public. Public disclosure of this information would cause Moog
   21 competitive harm. The Designated Materials contain Moog’s confidential and
   22 proprietary intellectual property, technical information, internal information,
   23 materials, and processes; marketing and business information; and/or financial
   24 information, which Moog designated as Protected Material pursuant to the
   25 Protective Order. If this information were to be made available to the public,
   26 Moog’s competitors would be given deep insight into Moog’s technical capabilities
   27 and business plans, and could gain an unfair competitive advantage.
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                                                  -3-                Case No. 2:22-cv-09094-GW-MAR
        SMRH:4890-9644-7100     MOOG INC.'S APPLICATION TO SEAL DESIGNATED MATERIALS FROM ITS
                                                         AMENDED TRADE SECRET IDENTIFICATION
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    1            Specifically, Moog seeks to file the following Designated Materials under
    2 seal:
    3
               DOCUMENT                    Designating Party          Text to be Filed/Lodged
    4                                                                        under Seal

    5       Moog’s Amended            Moog                           Sealed in its entirety.
            Trade Secret
    6       Identification (Non-
            CUI)
    7
    8       Exhibits 1-2 to           Moog                           Sealed in its entirety.
            Moog’s Amended
    9       Trade Secret
            Identification (Non-
   10       CUI)
   11       Moog’s Amended            Moog                           Sealed in its entirety.
            Trade Secret
   12       Identification (CUI)
   13
            Exhibit A to Moog’s       Moog                           Sealed in its entirety.
   14       Amended Trade
            Secret Identification
   15       (CUI)1
   16
   17            This application is further based upon the accompanying Declaration of

   18 Kazim Naqvi in Support of this Application; any pleadings, files, and records in this
   19 action; and any further evidence or argument as this Court may consider.
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        Because Exhibit 2 to Moog’s Amended TSID (Non-CUI) and Exhibit A to Moog’s
   27 Amended TSID (CUI) are voluminous, native excel spreadsheets with multiple tabs
      that cannot be readily filed in PDF format on the Court’s CM/ECF system, Moog
   28 will separately lodge those attachments with the Court via encrypted hard drive.
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        SMRH:4890-9644-7100         MOOG INC.'S APPLICATION TO SEAL DESIGNATED MATERIALS FROM ITS
                                                             AMENDED TRADE SECRET IDENTIFICATION
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    1 Dated: August 31, 2023
    2                              SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
    3
                                   By                      /s/ Kazim A. Naqvi
    4
                                                            Kazim A. Naqvi
    5
    6                                        Attorney for Plaintiff and Counter-Defendant
                                                             MOOG INC.
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                                                -5-                Case No. 2:22-cv-09094-GW-MAR
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                                                       AMENDED TRADE SECRET IDENTIFICATION
